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                                          UNITED STATES DISTRICT COURT

a                                           WESTERN DISTRICT OF PENNSYLVANIA
                                            Probation and Pretrial Services Office

                                                         700 Grant Street
         Belinda M. Ashley                                                                                          Romona Clark
      ChiefU.S. Probation Officer                           Suite 3330                            Assistant Deputy Chief U.S. Probation Officer
                                                      Pittsburgh, PA 15219
                                                    Telephone: 412-395-6907
           John A. Poglinco                            Fax: ·412-395-4864
    Deputy Chief U.S. Probation Officer

                                                         May 4, 2017

        The Honorable Nora Barry Fischer
        United States District Judge
        United States Courthouse
        700 Grant Street, Suite 5260
        Pittsburgh, PA 15219
                                                                      RE: David Dzermejko
                                                                      Docket No.: 0315 2:13CR00133
                                                                      REQUEST TO DESTROY
                                                                      EVIDENCE/CONTRABAND

         The following item(s) were seized from the above-referenced offender's residence on July 22,
         2013.

         Description                                Serial Number

         1 Beretta Folding Knife                    CPM-S30V

         The offender is prohibited from possessing the above-listed items by law or by order of the Court,
         therefore, it is respectfully requested that Your Honor enter an order authorizing the U.S. Probation
         Office to destroy the aforementioned items. This matter was discussed with Stephen Kaufinan,
         Chief, Criminal Division of the United States Attorney's Office, who agreed with the destruction
         request.

                                                                Respectfully Submitted,

                                                                m  na    a r :,                   Digitally signed by Romona Clark
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                                                                                                  cn=Ro.mona Clark
                                                                                                  Date: 2017.05.0411:55:19-04'00'

                                                                                     Romona Clark
                                                                       Assistant Deputy Chief U.S. Probation Officer
                                                        Date:                            5/4/2017

         THE COURT ORDERS:
         D No Action
      ~dered as Requested
         D Other:




                                                                                                Date

         pawpss 15 (3/2017)
